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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION


   ANDREW ROYER,

         Plaintiff

   v.
                                                Case No. 3:22-cv-254-CCB-MGG
   DENNIS CHAPMAN, VICKI E.
   BECKER, in their individual capacities,
   and ELKHART COUNTY SHERIFF’S
   DEPARTMENT,

         Defendants


          DEFENDANT ELKHART COUNTY SHERIFF’S DEPARTMENT’S
             BRIEF SUPPORTING ITS PARTIAL MOTION TO DISMISS
        WITH RESPECT TO THE FEDERAL CLAIMS OF PLAINTIFF ANDREW
                   ROYER’S AMENDED COMPLAINT (DE 202)
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  1.    Introduction

        This is an action brought pursuant to 42 U.S.C. § 1983 and Indiana state law.

  The plaintiff, Andrew Royer, alleges that he was wrongfully convicted of murder

  due to the actions of employees of the Elkhart City Police Department, the Elkhart

  County Prosecutor, and an employee of the Elkhart County Sheriff’s Department

  (“Sheriff’s Department”). This Partial Motion to Dismiss seeks dismissal of Royer’s

  federal claims against the Sheriff’s Department.

  2.    Procedural posture relevant to Sheriff’s Department’s Partial Motion
        to Dismiss

        2.1.   Complaint (Doc. 1)

        On March 30, 2022, Royer filed his Complaint. (Doc. 1). Royer named as

  defendants the following: State of Indiana; City of Elkhart; Elkhart County; Elkhart

  County Prosecutor’s Office; Dennis Chapman; Vicki Becker; Brett Coppins; Joel

  Bourdon; Todd Thayer; Michael Sigsbee; Peggy Snider; Paul Converse; Mark Daggy;

  and Carlton Conway. Conway, Daggy, Converse, Snider, Sigsbee, Thayer, Bourdon,

  and Coppins were employees of the City of Elkhart, Indiana Police Department

  (“EPD”). (Doc. 1 ¶ 29). Becker is the prosecutor of Elkhart County, Indiana. (Doc. 1

  ¶ 32). Chapman was a deputy in the Sheriff’s Department. (Doc. 1 ¶ 31).

        The factual allegations in the Complaint have been recounted by the Court in

  substantial detail in Doc. 87, pp. 1–10; therefore, the Sheriff’s Department will not

  again repeat the factual allegations in detail. In summary, Royer alleges three

  pieces of fabricated evidence led to his wrongful conviction: (1) his confession, which

  Royer claims was coerced through hours of interrogation at an EPD facility



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  involving EPD officers and Becker; (2) a witness statement which Royer claims was

  obtained by Conway through coercion and undisclosed incentives; and

  (3) Chapman’s latent fingerprint analysis tying Royer’s criminal co-defendant, Lana

  Canen, to the crime scene. (Doc. 1 ¶¶ 4, 5, 11, 12, 111, 126, 139).

         The Complaint asserted the following claims:

     •   Count I—42 U.S.C. § 1983 Due Process (against EPD defendants and
         Chapman).

     •   Count II—Coercive Interrogation: Fifth and Fourteenth Amendments
         (against Conway, Daggy, Converse, Snider, and Becker).

     •   Count III—42 U.S.C. § 1983 Deprivation of Liberty Without Probable Cause
         Fourth and Fourteen Amendments (against EPD defendants and Chapman).

     •   Count IV—42 U.S.C. § 1983 Supervisory Liability (against Converse).

     •   Count V—42 U.S.C. § 1983 Failure to Intervene (against all defendants).

     •   Count VI—42 U.S.C. § 1983 Conspiracy to Deprive Constitutional Rights
         (against all defendants).

     •   Count VII—42 U.S.C. § 1983 Monell Claim (against City of Elkhart).

     •   Count VIII—Americans with Disabilities Act (against the City of Elkhart, the
         Elkhart County Prosecutor’s Office, Elkhart County, and the State of
         Indiana).

     •   Count IX—Rehabilitation Act of 1973 (against the City of Elkhart, the
         Elkhart County Prosecutor’s Office, Elkhart County, and the State of
         Indiana).

     •   Count X—Negligent Supervision under Indiana state law (against Converse).

     •   Count XI—Breach of Duty in Hiring, Training and Supervising – Negligence
         under Indiana state law (against the City of Elkhart).

     •   Count XII—Breach of Duty in Hiring, Training and Supervising – Negligence
         under Indiana state law (against Elkhart County).

     •   Count XIII—Breach of Duty in Hiring – Willful and Wanton Conduct under
         Indiana state law (against the City of Elkhart).


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     •   Count XIV—Breach of Duty in Hiring – Willful and Wanton Conduct under
         Indiana state law (against Elkhart County).

     •   Count XV—Respondeat Superior (against the City of Elkhart and Elkhart
         County).

     •   Count XVI—Intentional Infliction of Emotional Distress (against all
         Defendants).

         2.2.   Elkhart County’s Motion for Judgment on the Pleadings (Docs.
                88 and 89)

         On December 16, 2022, Elkhart County filed a motion for judgment on the

  pleadings (Doc. 88) and supporting memorandum (Doc. 89). The basis of the motion

  was that, as a matter of Indiana state law, Elkhart County cannot be held liable for

  the tortious conduct of Sheriff’s deputy Chapman.

         2.3.   Royer’s Motion to Amend Complaint (Doc. 100) and Proposed
                Amended Complaint (Doc. 100-1)

         On January 6, 2023, Royer filed a motion to amend his complaint (Doc. 100)

  and proposed amended complaint (Doc. 100-1). The proposed amended complaint is

  the same as the Complaint except that: the Elkhart County Sheriff’s Office is added

  as a defendant in the caption; the Elkhart County Sheriff’s Office is added as the

  employer of Chapman (Doc. 100-1 ¶ 31); the Elkhart County Sheriff’s Office is

  added as a party responsible for Chapman’s torts under the doctrine of respondeat

  superior (Doc. 100-1 ¶ 33); and the Elkhart County Sheriff’s Office is added to

  Counts XII and XIV as a party liable for breach of duty in hiring (Doc. 100-1

  ¶¶ 348–51, 356–59).




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        2.4.   Opinion and Order granting Elkhart County’s Motion for
               Judgment on the Pleadings (Doc. 127)

        On April 21, 2023, the Court granted Elkhart County’s Motion for Judgment

  on the Pleadings and dismissed all claims against Elkhart County. (Doc. 127).

        2.5.   Royer’s Second Motion for Leave to Amend Complaint to Add
               Monell Claim Against the Sheriff’s Department (Doc. 173)

        On October 13, 2023, Royer filed a second motion for leave to amend his

  complaint (Doc. 173) and proposed amended complaint (Doc. 173-1). In the proposed

  amended complaint, Elkhart County remains as a defendant in the caption but is

  deleted from the introductory paragraph. Elkhart County is deleted in paragraphs

  31 and 33 as Chapman’s employer. (Doc. 173-1 ¶¶ 31, 33). Royer added allegations

  against the Sheriff’s Department alleging a failure to train and supervise Chapman.

  (Doc. 173-1 ¶¶ 264–74). Royer added the Sheriff’s Department to Count VII—the

  Monell claim. (Doc. 173-1 ¶¶ 324–30). In Count XIV—Breach of Duty in Hiring

  (Doc. 173-1 ¶¶ 369–72), the Elkhart County Sheriff’s Office is removed from

  paragraph 372. And in Count XV—“Respondeat Superior” (Doc. 173-1 ¶¶ 373–75),

  Elkhart County Sheriff’s Office is deleted from the final sentence in paragraph 375.

        2.6.   Stipulation to Dismiss Elkhart City Defendants (Doc. 181)

        On December 12, 2023, a stipulation to dismiss was filed seeking dismissal of

  the City of Elkhart and individual defendants Conway, Daggy, Converse, Snider,

  Sigsbee, Thayer, Bourdon, and Coppins. (Doc. 181).




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        2.7.   Court order pertaining to Stipulation to Dismiss (Doc. 182)

        Per order dated February 1, 2024, the Court granted Royer leave to amend

  his Complaint for the limited purpose of revising it to reflect the dismissal of

  Elkhart City and the individual Elkhart City defendants. (Doc. 182).

        2.8.   Royer’s Motion to Delete the City of Elkhart and individual
               City of Elkhart defendants from Complaint (Doc. 183)

        On February 14, 2024, Royer filed a motion to delete the City of Elkhart and

  individual City of Elkhart defendants from the Complaint. (Doc. 183).

        2.9.   Court order pertaining to Royer’s Motion to Delete (Doc. 184)

        Per order dated February 15, 2024, Royer’s motion to delete was denied and

  Royer was ordered to file an amended complaint to reflect the dismissal of the City

  of Elkhart and the individual City of Elkhart defendants. (Doc. 184).

        2.10. Amended Complaint (Doc. 186)

        On February 22, 2024, Royer filed an amended complaint. The amended

  complaint is essentially the same as the Complaint (Doc. 1) except that Elkhart City

  and the individual Elkhart City defendants are deleted from the caption and in the

  body of the amended complaint the word “dismissed” is inserted when referring to

  the dismissed defendants. (Doc. 186).

        2.11. Court order pertaining to Royer’s motions to amend complaint
              (Doc. 198)

        Per court order dated March 14, 2024, Royer was granted leave to amend his

  complaint. (Doc. 198).

        2.12. Royer’s Amended Complaint (Doc. 202)

        On March 20, 2024, Royer filed his Amended Complaint. (Doc. 202).



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  3.    Royer’s allegations and counts in Amended Complaint (Doc. 202)

        In the Amended Complaint, defendants are Chapman, Becker, and the

  Sheriff’s Department. Elkhart City and individual Elkhart City police officers are

  referenced in the Amended Complaint as “dismissed defendants.”

        Royer alleges that he was wrongfully convicted of murder based on three

  pieces of fabricated evidence. (Doc. 202 ¶ 4). The fabricated evidence consisted of:

  (1) Royer’s involuntary confession (Doc. 202 ¶¶ 5–10); (2) a fabricated witness

  statement (Doc. 202 ¶ 11); and (3) a fabricated fingerprint analysis (Doc. 202 ¶¶ 12–

  13). Chapman conducted the fingerprint analysis but was not involved in either

  Royer’s confession or the witness statement.

        As to Chapman, the Amended Complaint alleges the following. Chapman was

  a deputy in the Sheriff’s Department. (Doc. 202 ¶ 12). Elkhart City police officers

  recovered fingerprints from the murder scene and provided those to Chapman for

  analysis. (Doc. 202 ¶¶ 160–61). Chapman conducted a comparison of crime scene

  fingerprints to known prints of Royer and Canen and excluded both. (Doc. 202 ¶¶

  163–65). Chapman was pressured by Elkhart City Police to fabricate a false opinion

  to implicate Royer or Canen (Doc. 202 ¶¶ 166–68). Chapman fabricated a report

  that a crime scene print was that of Canen. (Doc. 202 ¶ 169). Chapman also

  fabricated that the crime scene fingerprint did not match any other fingerprint

  cards he had been provided. But a later analysis conducted by the Indiana State

  Police determined the latent print identified by Chapman as Canen’s was that of a

  home health care worker (Doc. 202 ¶¶ 172–73). Chapman’s fingerprint analysis

  report states that his opinion was “based on my experience as a Fingerprint


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  Examiner with the Federal Bureau of Investigation from 1976–1978 and my

  continued examination of fingerprints with the Elkhart County Sheriff’s

  Department” but this was a fabrication. Chapman was never trained and had no

  FBI experience in conducting latent print comparisons. (Doc. 202 ¶ 174). Chapman

  testified at Royer’s trial as an expert fingerprint analyst consistent with his report.

  (Doc. 202 ¶¶ 177, 227).

        Chapman was used by the Elkhart City Police Department on previous

  occasions to provide latent handprint opinions that were consistent with their

  theory of investigation. (Doc. 202 ¶¶ 181–84).

        As to the Sheriff’s Department, the allegations in the Amended Complaint

  state as follows. Within the Sheriff’s Department, there was a total lack of policies,

  procedures, training, and supervision over Chapman’s latent print analyses. (Doc.

  202 ¶ 264). Policymakers and supervisory personnel were aware of and failed to

  implement any policies, procedures, training, or supervision that would have

  prevented Chapman from violating criminal defendants’ constitutional rights. (Doc.

  202 ¶ 265). It was known within the Sheriff’s Department that Chapman conducted

  fingerprint analyses for the Elkhart Police Department, but no supervisor sought to

  implement any supervision, training, policies, or procedures governing Chapman’s

  work for the EPD. (Doc. 202 ¶ 266). This policy and practice repeated itself in

  numerous criminal investigations conducted by Chapman at the Elkhart Police

  Department. (Doc. 202 ¶ 267). Nonetheless, and despite notice to (and often

  involvement of) policymakers in the above-described unconstitutional policies and




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  practices, there was no effort to rectify any such misconduct. Chapman still

  remained as a law-enforcement officer within the Sheriff’s Department, his

  misconduct remained undisclosed to criminal defendants like Royer, and he was

  permitted to act with impunity in criminal investigations. (Doc. 202 ¶ 268). The

  Sheriff’s Department failed to act to remedy the abuses described in the preceding

  paragraphs, despite actual knowledge of the pattern of misconduct, thereby

  perpetuating the unlawful practices and ensuring that no action would be taken

  (independent of the judicial process) to remedy Royer’s ongoing injuries.

  (Doc. 202 ¶¶ 269–70). The policies and practices were consciously approved by

  Sheriff’s Department policymakers who were deliberately indifferent to the

  violations of constitutional rights described herein. (Doc. 202 ¶ 271). These policies

  and practices were the proximate cause of the constitutional injuries that Royer

  sustained. (Doc. 202 ¶ 272). The Sheriff’s Department’s failure to train and

  supervise Chapman effectively condoned, ratified, and sanctioned the kind of

  misconduct that Chapman committed against Royer. (Doc. 202 ¶ 273).

         The Amended Complaint asserts the following claims:

     •   Count I—42 U.S.C. § 1983 Due Process Chapman (Doc. 202 ¶¶ 280–88).

     •   Count II—Coercive Interrogation: Fifth and Fourteenth Amendments Becker
         (Doc. 202 ¶¶ 289–94).

     •   Count III—42 U.S.C. § 1983 Deprivation of Liberty Without Probable Cause
         Fourth and Fourteenth Amendments Chapman (Doc. 202 ¶¶ 295–304).

     •   Count IV—42 U.S.C. § 1983 Failure to Intervene: Becker and Chapman
         (Doc. 202 ¶¶ 305–09).

     •   Count V—42 U.S.C. § 1983 Conspiracy to Deprive Constitutional Rights:
         Becker and Chapman (Doc. 202 ¶¶ 310–16).


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       •   Count VI—42 U.S.C. § 1983 Monell Claim Against the Sheriff’s Department
           (Doc. 202 ¶¶ 317–21).

       •   Count VII—State Law Claim Sheriff’s Department Breach of Duty in Hiring,
           Training and Supervising – Negligence (Doc. 202 ¶¶ 322–25).

       •   Count VIII—State Law Claim Sheriff’s Department Breach of Duty in Hiring
           – Willful and Wanton Conduct (Doc. 202 ¶¶ 326–29).

       •   Count IX—Respondeat Superior (against Sheriff’s Department) (Doc. 202
           ¶¶ 330–31).

       •   Count X—Intentional Infliction of Emotional Distress: Sheriff’s Department
           and Chapman (Doc. 202 ¶¶ 332–35).

  4.       Statement of Issue

           Whether Royer’s Amended Complaint states a § 1983 Monell claim against

  the Sheriff’s Department.

  5.       Standard of Review

           Federal Rule of Civil Procedure 12(b)(6) authorizes dismissal when no

  actionable claim is stated. In ruling on such a motion, a court accepts as true all of

  the well-pled facts alleged by the plaintiff and all reasonable inferences that can be

  drawn therefrom. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555–56, 127 S. Ct. 1955,

  167 L. Ed. 2d 929 (2007). However, “legal conclusions and conclusory allegations

  merely reciting the elements of the claim are not entitled to this presumption of

  truth.” McCauley v. City of Chicago, 671 F.3d 611, 616 (7th Cir. 2011). After

  “excising” such conclusory allegations, a court determines whether the remaining

  factual allegations “plausibly suggest an entitlement to relief.” Id. (quoting Ashcroft

  v. Iqbal, 556 U.S. 662, 681, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009)). The “[f]actual

  allegations must be enough to raise a right to relief above the speculative level.”

  Twombly, 550 U.S. at 555. A court will grant judgment in a defendant’s favor if the


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  plaintiff does not “state a claim to relief that is plausible on its face.” Adams v. City

  of Indianapolis, 742 F.3d 720, 728 (7th Cir. 2014) (quoting Twombly, 550 U.S. at

  570).

  6.      The Amended Complaint does not state a § 1983 Monell claim against
          the Sheriff’s Department

          To hold a governmental entity liable under § 1983, a plaintiff must

  demonstrate that the constitutional deprivation was caused by “a policy statement,

  ordinance, regulation, or decision officially adopted and promulgated by that body’s

  officers” or by an unwritten custom or practice so well established as to amount to a

  government policy. Monell v. Dep’t of Soc. Servs. of City of New York, 436 U.S. 658,

  690–91, 98 S. Ct. 2018, 56 L. Ed. 2d 611 (1978). Courts have identified three ways

  in which a municipality can be liable to a plaintiff for a civil rights violation

  resulting from government policy: (1) an express policy that, when enforced, causes

  a constitutional deprivation; (2) a widespread practice that, although not authorized

  by written law or express municipal policy, is so permanent and well-settled as to

  constitute a custom or usage with the force of law; or (3) the constitutional injury

  caused by a person with final policymaking authority. Abbott v. Vill. of Winthrop

  Harbor, 205 F.3d 976, 981 (7th Cir. 2000). Monell liability only attaches if the

  policy, custom or practice, or decision was “the moving force behind the federal-

  rights violation.” First Midwest Bank Guardian of Est. of LaPorta v. City of Chicago,

  988 F.3d 978, 987 (7th Cir. 2021) (internal quotation marks omitted).




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         6.1.   The Amended Complaint does not state a claim against the
                Sheriff’s Department for Monell liability based on express
                policy or caused by a person with final policymaking authority

         Allegations lacking in factual content are insufficient to state a claim.

  McCauley, 671 F.3d at 616 (citations omitted). Moreover, the required level of

  factual specificity required to state a claim rises with the complexity of the claim.

  Id. This is “both to give the opposing party notice of what the case is all about and

  to show how, in the plaintiff’s mind at least, the dots should be connected.” Swanson

  v. Citibank, N.A., 614 F.3d 400, 405 (7th Cir. 2010). In a Monell claim, a plaintiff

  must “plead factual content that allows the court to draw the reasonable inference

  that the [governmental entity] maintained a policy, custom, or practice” that was

  the moving force behind the plaintiff’s constitutional injury. McCauley, 671 F.3d at

  616.

         Royer alleges the actions of Chapman “in fabricating evidence and

  withholding exculpatory evidence were undertaken pursuant to the policies and

  practices of the Elkhart County Sheriff’s Department, described above, which were

  created, maintained, or ratified by the policymakers for the Elkhart County

  Sheriff’s Department with final policymaking authority.” (Doc. 202 ¶ 318). Not only

  is this claim devoid of the factual specificity that could allow the Court to

  reasonably infer that the Sheriff’s Department was ultimately responsible for

  Chapman’s alleged fabrication of evidence, but it also fails to put the Sheriff’s

  Department on notice of what role it allegedly played in relation to the referenced

  policies or practices by failing to identify the referenced final policymaker.




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        The Supreme Court has confirmed that “final policymaking authority” is a

  question of state law. Jett v. Dallas Indep. Sch. Dist., 491 U.S. 701, 737, 109 S. Ct.

  2702, 2723, 105 L. Ed. 2d 598 (1989) (citing Pembaur v. City of Cincinnati, 475 U.S.

  469, 483, 106 S. Ct. 1292, 1300, 89 L. Ed. 2d 452 (1986)). State and local law, as well

  as “ ‘custom and usage’ having the force of law,” may illustrate which officials or

  governmental entities are endowed with final policymaking authority with regard to

  the action that allegedly caused the particular constitutional or statutory violation.

  Jett, 491 U.S. at 737. In Eversole v. Steele, the Seventh Circuit found, under its

  review of Indiana law, that a county sheriff is the final policymaker in their

  jurisdiction for law enforcement purposes. 59 F.3d 710, 716 (7th Cir. 1995) (citing

  Delk v. Bd. of Comm’rs of Delaware Cnty., 503 N.E.2d 436, 440 (Ind. Ct. App. 1987);

  Ind. Code §§ 36-2-13-1 to 36-2-13-14); see Escobedo v. Buncich, No. 2:18 CV 226,

  2019 WL 2174234, at *2 (N.D. Ind. May 20, 2019). For example, when considering a

  Monell claim where the plaintiff sought to hold the Hancock County Sheriff’s

  Department liable for the actions of its deputy, the Indiana Court of Appeals found

  that the sheriff was a final policymaker for purposes of the case at hand. Trout v.

  Buie, 653 N.E.2d 1002, 1007 (Ind. Ct. App. 1995). The Elkhart County Sheriff was

  the final policymaking authority of the Sheriff’s Department during the relevant

  time period in the instant matter.

        Royer neither identifies an express policy of the Sheriff’s Department nor

  alleges that the Elkhart County Sheriff, as final policymaker, was responsible for

  the fabrication of evidence with enough specificity to allow the Court to infer that




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  either party was responsible for his alleged constitutional injury. As such, this is an

  allegation without factual content, and it is insufficient to state a Monell claim.

        6.2.   The Amended Complaint does not state a claim against the
               Sheriff’s Department for Monell liability based on widespread
               custom or practice

        To allege a “widespread practice” claim, a plaintiff must assert facts sufficient

  to establish that a pattern of similar deprivations is so “permanent, well-settled,

  and widespread as to constitute custom or usage.” See Wragg v. Vill. of Thornton,

  604 F.3d 464, 468 (7th Cir. 2010). Such practices must be evidenced by instances

  “demonstrating a long-standing and widespread practice of constitutional

  deprivation” noticed or tolerated by policy makers. Alexander v. City of S. Bend, 320

  F. Supp. 2d 761, 781 (N.D. Ind. 2004), aff’d, 433 F.3d 550 (7th Cir. 2006) (citing

  Harris v. City of Marion, Ind., 79 F.3d 56, 59 (7th Cir. 1996) (“One incident cannot

  be bootstrapped into a pattern.”)); see, e.g., Roach v. City of Evansville, 111 F.3d

  544, 549 (7th Cir. 1997) (finding that no reasonable jury could infer that a

  municipal defendant was engaged in a permanent and well-settled practice of

  depriving residents of their constitutional rights based on isolated incidents

  occurring in the same case within a very short span of time).

        That is, a plaintiff must show that a governmental entity’s practice is so

  widespread that the governmental entity is “deliberately indifferent as to [the]

  known or obvious consequences” of the practice. Thomas v. Cook Cnty. Sheriff’s

  Dep’t, 604 F.3d 293, 303 (7th Cir. 2010) (quoting Gable v. City of Chicago, 296 F.3d

  531, 537 (7th Cir. 2002)). The Supreme Court has defined deliberate indifference in

  this context to mean that “a reasonable policymaker [would] conclude that the


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  plainly obvious consequences” of the governmental entity’s actions would result in

  the deprivation of a federally protected right. Gable, 296 F.3d at 537 (citing Bd. of

  Cnty. Comm’rs of Bryan Cnty., Okl. v. Brown, 520 U.S. 397, 410, 117 S. Ct. 1382,

  137 L. Ed. 2d 626 (1997)). To establish such deliberate indifference, a plaintiff must

  show a series of constitutional violations, as well as specific facts regarding the

  violations. Palmer v. Marion Cnty., 327 F.3d 588, 596 (7th Cir. 2003). Isolated acts

  of misconduct by non-policymaking employees are insufficient to establish a

  widespread practice for Monell liability. Palmer, 327 F.3d at 596; see also Sims v.

  Mulcahy, 902 F.2d 524, 542 (7th Cir. 1990) (“[C]ustom . . . implies a habitual

  practice of a course of action that characteristically is repeated under like

  circumstances.”). The gravamen of liability based on practice or custom “is not

  individual misconduct by police officers (that is covered elsewhere under § 1983),

  but a widespread practice that permeates a critical mass of an institutional body.”

  Rossi v. City of Chicago, 790 F.3d 729, 737 (7th Cir. 2015) (emphasis in original).

        In the Amended Complaint, there are no factual allegations supporting a

  Monell claim based on practice and custom other than the allegations concerning

  Chapman’s actions for Royer’s murder trial. The Amended Complaint does contain

  allegations that Chapman performed fingerprints analysis for the Elkhart Police

  Department on prior occasions. (Doc. 202 ¶¶ 181–84). But there are no factual

  allegations that previous fingerprint analysis conducted by Chapman was flawed,

  let alone fabricated.




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        Basing a Monell claim on Chapman’s actions in Royer’s case alone is not

  sufficient; a plaintiff must allege, generally, multiple incidents of wrongdoing.

  Thomas, 604 F.3d at 303. This requirement aims to ensure that the plaintiff has

  identified “a true municipal policy . . . not a random event.” Calhoun v. Ramsey, 408

  F.3d 375, 380 (7th Cir. 2005). This holds true “[b]oth in ‘widespread practice’

  implicit policy cases and in the cases attacking gaps in express policies.” Id. Practice

  and custom claims “based on single events veer close to the respondeat superior

  theory of liability, which the Supreme Court explicitly rejected in Monell.” Walker v.

  City of Chicago, 596 F. Supp. 3d 1064 (N.D. Ill. 2022) (citing Monell, 436 U.S. at

  691; City of Oklahoma City v. Tuttle, 471 U.S. 808, 821, 105 S. Ct. 2427, 85 L. Ed.

  2d 791 (1985)). In other words, it takes more than one act to constitute a policy. But

  Royer has not alleged more.

        Finally, for a governmental entity to be liable under Monell based on practice

  or custom, the governmental entity must have been aware of the risk created by the

  practice or custom and must have failed to take appropriate steps to protect the

  plaintiff. Gable, 296 F.3d at 537–38. To meet the standards of Twombly, Iqbal, and

  McCauley, Royer must allege facts sufficient to demonstrate (rather than just say)

  that the Sheriff’s Department’s final policymaker knew of the alleged widespread

  practices and chose to effectively adopt those practices as its own. See Cornfield by

  Lewis v. Consol. High Sch. Dist. No. 230, 991 F.2d 1316, 1326 (7th Cir. 1993). The

  exercise of discretion by a particular official, standing alone, does not give rise to a

  conclusion of municipal liability; rather, liability should attach only if the




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  unconstitutional decision was “a deliberate choice to follow a course of action” and if

  state or local law authorized the decisionmaker “responsible for establishing final

  government policy with respect to the subject matter in question.” Id. If this can be

  demonstrated, then a “widespread practice [of unconstitutional behavior] . . . would

  support a conclusion of municipal liability.” Id. But Royer merely recites, rather

  than supports, this necessary aspect of his Monell claim (Doc. 202 ¶¶ 264–74), and

  he therefore fails to plead sufficiently as to widespread custom or practice.

        6.3.   The Amended Complaint does not state a claim against the
               Sheriff’s Department for Monell liability based on failure to
               train

        A plaintiff also may take an “alternative path to Monell liability” by showing

  a municipality’s policy in the form of its deliberate indifference to the need to train

  or supervise its employees. J.K.J. v. Polk Cnty., 960 F.3d 367, 380 (7th Cir. 2020).

  “A municipality’s culpability for a deprivation of rights is at its most tenuous where

  a claim turns on a failure to train.” Connick v. Thompson, 563 U.S. 51, 61, 131 S.

  Ct. 1350, 179 L. Ed. 2d 417 (2011). To succeed on a failure-to-train theory, a

  plaintiff must establish that the risk of constitutional violation is “so high and the

  need for training so obvious that the municipality’s failure to act reflects deliberate

  indifference . . .” J.K.J., 960 F.3d at 380. “In that event, the failure to provide proper

  training may fairly be said to represent a policy for which the city is responsible,

  and for which the city may be held liable if it actually causes injury.” Id. (quoting

  City of Canton, Ohio v. Harris, 489 U.S. 378, 390, 109 S. Ct. 1197, 103 L. Ed. 2d 412

  (1989)).




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        Accordingly, in situations that call for procedures, rules, or regulations, the

  failure to make a policy itself may be actionable; in other words, a practice of

  unconstitutional conduct, although lacking formal approval, may provide a basis for

  municipal liability. Cornfield by Lewis, 991 F.2d at 1326 (citations omitted); see also

  Glisson v. Indiana Dep’t of Corr., 849 F.3d 372 (7th Cir. 2017) (holding that an

  institution could be liable for failing to adopt protocols for the coordinated and

  comprehensive treatment of chronically ill inmates). In this regard, a single isolated

  incident of wrongdoing by a non-policymaker is generally insufficient to establish

  municipal acquiescence in unconstitutional conduct. Cornfield by Lewis, 991 F.2d at

  1326 (citing City of Oklahoma City, 471 U.S. at 823–24; Jones v. City of Chicago,

  787 F.2d 200, 204 (7th Cir. 1986)). To withstand a motion to dismiss for a failure to

  make policy, an allegation of a pattern or a series of incidents of unconstitutional

  conduct is required. Cornfield by Lewis, 991 F.2d at 1326 (citing Powe v. City of

  Chicago, 664 F.2d 639, 650 (7th Cir. 1981); accord Jones, 787 F.2d at 204 (requiring

  “systemic” faulty inaction)).

        As a basis for holding the Sheriff’s Department liable under Monell it is

  alleged in the Amended Complaint that: (1) Chapman was unqualified to conduct

  latent print examinations (Doc. 202 ¶¶ 174, 179–80); (2) that Chapman fabricated

  the fingerprint analysis used in Royer’s criminal trial (Doc. 202 ¶¶ 169, 172, 177–

  78, 180); that Chapman had done fingerprint analyses for the Elkhart City Police on

  prior occasions (Doc. 202 ¶¶ 181–82); and that the Sheriff’s Department knew

  Chapman had conducted fingerprint analyses for the Elkhart City Police




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  Department (Doc. 202 ¶ 266). Critically, there are no factual allegations: (1) that

  any fingerprint analyses conducted by Chapman for the Elkhart City Police prior to

  the Royer fingerprint analysis were false or fabricated; (2) that the Sheriff knew

  that any of Chapman’s fingerprint analyses (whether conducted for Elkhart City

  Police or other law enforcement entities) were false or fabricated; (3) that the

  Sheriff was put on notice that other Sheriff’s Department employees had fabricated

  fingerprint analyses in the past; or (4) that identify a course of training that would

  have prevented the alleged constitutional violation. And Royer had ample

  opportunity to plead these allegations in his Complaint and several amended

  complaints. (Doc. 1; Doc. 100-1; Doc. 173-1; Doc. 186; Doc. 202).

        Mere allegations that Chapman was unqualified to perform a fingerprint

  analysis do not directly support a claim that Chapman violated Royer’s

  constitutional rights. Fabrication of evidence is not based on negligence or even

  reckless behavior. Rather, fabrication of evidence is an intentional lie. See Patrick v.

  City of Chicago, 974 F.3d 824, 835 (7th Cir. 2020) (“The essence of a due-process

  evidence-fabrication claim is that the accused was convicted and imprisoned based

  on knowingly falsified evidence . . .”); see also Sampson v. Lambert, 903 F.3d 798

  (8th Cir. 2018) (fabrication of evidence requires specific intent). Being qualified to

  perform a fingerprint analysis is not the issue as to whether evidence was

  fabricated. A highly qualified witness or an underqualified witness could both

  engage in fabrication of evidence. Moreover, being underqualified or overstating

  one’s qualifications is not a constitutional violation. See Buie v. McAdory, 341 F.3d




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  623, 625 (7th Cir. 2003) (“No decision of the Supreme Court “clearly establishes”

  that experts (or any other witnesses) must be right; the constitutional rule is that

  the defendant is entitled to a trial that will enable jurors to determine where the

  truth lies. That a witness may give false or mistaken testimony therefore is not an

  independent constitutional violation.”).

         However, Chapman’s qualifications to conduct a fingerprint analysis are

  relevant on the issue of whether the final policymaker for the Sheriff’s

  Department—the Sheriff—was deliberately indifferent. See Escobedo, 2019 WL

  2174234, at *2. Deliberate indifference is a stringent standard “requiring proof that

  a municipal actor disregarded a known or obvious consequence of his action.”

  Brown, 520 U.S. at 410. “Without notice that a course of training is deficient in a

  particular respect, decisionmakers can hardly be said to have deliberately chosen a

  training program that will cause violations of constitutional rights.” Connick, 563

  U.S. at 61. Generally, to be held liable on a failure to train claim, the governmental

  entity must have knowledge of a “pattern of tortious conduct demonstrating the

  need for additional training, ‘rather than a one-time negligen[ce].’” Flores v. City of

  S. Bend, 997 F.3d 725, 731 (7th Cir. 2021) (citing Brown, 520 U.S. at 407–08). But a

  plaintiff may base a successful claim on a single constitutional violation if the “risk

  of constitutional violations [is] so high and the need for training so obvious that the

  municipality’s failure to act . . . reflect[s] deliberate indifference and allow[s] an

  inference of institutional culpability.” J.K.J., 960 F.3d at 380.




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        In a prior civil case, Canen, the co-defendant with Royer in his murder trial,

  sued Chapman. Chapman’s qualifications to testify as an expert on fingerprint

  analysis was an issue. Chapman obtained summary judgment and Canen appealed.

  In its opinion affirming the grant of summary judgment, the Seventh Circuit Court

  of Appeals addressed the issue of Chapman’s qualifications to give an expert opinion

  on fingerprint analysis, and it stated that he was qualified:

        The Indiana Supreme Court has clarified that, under the Indiana
        Rules of Evidence, “[n]o precise quantum of knowledge is required if
        the witness shows a sufficient acquaintance with the subject.” Rather,
        “[t]he determination of whether a witness is qualified to testify as an
        expert is within the sound discretion of the trial court whose rulings
        will not be disturbed absent an abuse of discretion.” “As such, a
        witness may qualify as an expert on the basis of practical experience
        alone,” and “[a] lack of extensive formal training or experience goes to
        the weight of the expert testimony rather than to its admissibility,”
        Accordingly, Detective Chapman, an officer trained in known
        fingerprint analysis by the FBI and the Integrated Indiana Law
        Enforcement Crime Scene Training School, and who had performed
        latent fingerprint retrieval and latent fingerprint examinations in the
        past, qualified as an expert under Indiana’s rules of evidence and his
        testimony was admissible.

  Canen v. Chapman, 847 F.3d 407, 413–14 (7th Cir. 2017) (internal citations

  omitted). This determination of Chapman’s qualifications in the Canen lawsuit does

  not operate as res judicata or collateral estoppel in this lawsuit. However, this

  Court can consider the Seventh Circuit’s determination of Chapman’s qualifications

  in the Canen lawsuit under the doctrine of stare decisis. See Tate v. Showboat

  Marina Casino P’ship, 431 F.3d 580 (7th Cir. 2005).

        As already noted, the Amended Complaint contains no factual allegations

  that a sheriff was put on notice based on prior incidents of fabrication of evidence—

  a pattern of tortious conduct demonstrating the need for additional training—that


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  Chapman should not conduct fingerprint analyses. Further, the allegations in the

  Amended Complaint are insufficient to base a claim on a single constitutional

  violation. If a sheriff, aware that Chapman had the experience reiterated by the

  Seventh Circuit in the Canen opinion, allowed him to conduct fingerprint analysis,

  this would hardly constitute a situation where the “risk of constitutional violations

  [is] so high and the need for training so obvious that the municipality’s failure to

  act . . . reflect[s] deliberate indifference and allow[s] an inference of institutional

  culpability.” J.K.J., 960 F.3d at 380. As such, the allegations in the Amended

  Complaint are insufficient to state a claim under Monell based on deliberate

  indifference to the need to train.

         Even if the Amended Complaint adequately alleged the existence of an

  unconstitutional Sheriff’s Department policy and the requisite degree of culpability,

  Royer does not plausibly allege that any such policy directly caused his alleged

  injuries. See Brown, 520 U.S. at 404; City of Canton, Ohio, 489 U.S. at 390–91. To

  prevail on a Monell claim, a plaintiff must satisfy a rigorous standard of causation.

  Brown, 520 U.S. at 405. This requires a plaintiff to “demonstrate a direct causal

  link between the municipal action and the deprivation of federal rights.” Id. at 404.

  If a complaint does not contain sufficient factual allegations showing a “direct

  causal link between a policy or custom of the Sheriff’s Department and the alleged

  constitutional violations,” it is subject to dismissal. See Est. of Sims ex rel. Sims v.

  Cnty. of Bureau, 506 F.3d 509, 515 (7th Cir. 2007); see also Jordan v. City of

  Chicago, No. 20-CV-4012, 2021 WL 1962385, at *5 (N.D. Ill. May 17, 2021) (quoting




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  Iqbal, 556 U.S. at 678 (“Threadbare recitals of causation ‘supported by mere

  conclusory statements, do not suffice’ to plead a plausible claim.”)). The Amended

  Complaint states that the policies and practices of the Sheriff’s Department caused

  Royer’s constitutional injuries (Doc. 202 ¶ 272), but there are no factual allegations

  connecting the alleged policies or failure to train and Royer’s constitutional injuries.

  7.    Conclusion

        For the foregoing reasons, the Elkhart County Sheriff’s Department requests

  that the Court dismiss the federal claims of Plaintiff Andrew Royer’s Amended

  Complaint against it and grant all other appropriate relief.

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                                  Certificate of Service

        I certify that on June 12, 2024, my office electronically filed the foregoing

  document with the Clerk of the Court using the CM/ECF system, which sent

  notification of such filing to all counsel of record registered to receive same.

                             _/s/ Michael F. DeBoni________________________________
                             Michael F. DeBoni (#12434-20)




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